Case 16-14113-mdc          Doc 62
                           Filed 02/14/18 Entered 02/14/18 17:34:39 Desc Main
                           Document     Page 1 of 2
                IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)
IN RE:                                     :
DANIEL J ATKINS                            :    BK. No. 16-14113-MDC
SARA A ATKINS                              :
                      Debtors              :    Chapter No. 13
                                           :
U.S. BANK NATIONAL ASSOCIATION             :
                      Movant               :
                 v.                        :
DANIEL J ATKINS                            :    11 U.S.C. §362
SARA A ATKINS                              :
                      Respondents          :
                                           :

MOTION OF U.S. BANK NATIONAL ASSOCIATION FOR RELIEF FROM AUTOMATIC
   STAY UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by Debtors DANIEL J ATKINS AND SARA A ATKINS.

               1.      Movant is U.S. BANK NATIONAL ASSOCIATION.

               2.      Debtors, DANIEL ATKINS AND SARA ATKINS are the owners of the

premises located at 145 ROCK GLEN RD, WYNNEWOOD, PA 19096, hereinafter known as the

mortgaged premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Debtors' failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.

               5.      Movant wishes to institute foreclosure proceedings on the mortgage because of

Debtors' failure to make the monthly payment required hereunder.

               6.      The foreclosure proceedings to be instituted were stayed by the filing of the

instant Chapter 13 Petition.

               7.      As of February 2, 2018, Debtors have failed to tender post-petition mortgage

payments for the months of July 2017 through February 2018. The monthly payment amount for the

months of July 2017 through November 2017 is $2,264.37, payment amount for the months of
Case 16-14113-mdc          Doc 62Filed 02/14/18 Entered 02/14/18 17:34:39 Desc Main
                                 Document        Page 2 of 2
December 2017 through February 2018 is $2,286.60, less suspense in the amount of $34.31, for a total

amount due of $18,147.34. The next payment is due on or before March 1, 2018 in the amount of

$2,286.60. Under the terms of the Note and Mortgage, Debtors have a continuing obligation to remain

current post-petition and failure to do so results in a lack of adequate protection to Movant.

               8.      Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               9.      Movant specifically requests permission from the Honorable Court to

communicate with Debtors and Debtors' counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               10.     Movant requests that Federal Rule of Bankruptcy Procedure 3002.1 be waived.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.      Modifying the Automatic Stay under Section 362 with respect to 145 ROCK

GLEN RD, WYNNEWOOD, PA 19096 (as more fully set forth in the legal description attached to

the Mortgage of record granted against the Premises), as to allow Movant, its successors and

assignees, to proceed with its rights under the terms of said Mortgage; and

               b.      Movant specifically requests permission from this Honorable Court to

communicate with Debtors and Debtors' counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

               c.      Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

               d.      Granting any other relief that this Court deems equitable and just.

                                                      /s/ Jerome Blank, Esquire
                                                      Jerome Blank, Esq., Id. No.49736
                                                      Phelan Hallinan Diamond & Jones, LLP
                                                      1617 JFK Boulevard, Suite 1400
                                                      One Penn Center Plaza
                                                      Philadelphia, PA 19103
                                                      Phone Number: 215-563-7000 Ext 31625
                                                      Fax Number: 215-568-7616
February 14, 2018                                     Email: jerome.blank@phelanhallinan.com
